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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-02219-PAB-NRN

  PETROL LOGIC LLC, a Colorado limited liability company,
  RUBY CANYON DENTAL GROUP PC, a Colorado professional corporation,
  DC DENTAL PLLC d/b/a FRUITA FAMILY DENTAL, a Colorado professional limited
  liability company, and
  CRESTED OAK DENTISTRY PLLC, a Colorado professional limited liability company,
  individually on behalf of themselves and on behalf of all others similarly situated,

          Plaintiffs,

  v.

  G&A OUTSOURCING, LLC d/b/a G&A PARTNERS, a Texas limited liability company,

          Defendant.


       DEFENDANT G&A OUTSOURCING, LLC’S MOTION TO DISMISS COMPLAINT

          Defendant G&A Outsourcing, LLC d/b/a G&A Partners (“G&A”), by and through its

  undersigned counsel, hereby moves this Court, pursuant to Rule 12(b)(2) & (6) of the Federal

  Rules of Civil Procedure for an order dismissing the Class Action Complaint (“Complaint”) of

  plaintiffs Petrol Logic, LLC (“Petrol Logic”), Ruby Canyon Dental Group, PC (“Ruby Canyon”),

  DC Dental d/b/a/ Fruita Family Dental (“Fruita Family”), and Crested Oak Dentistry PLLC

  (“Crested Oak”) (collectively, “Plaintiffs”) and all causes of action stated therein. In support of

  this Motion, G&A states as follows:

                                CERTIFICATE OF CONFERRAL

          Pursuant to D.C.COLO.LCivR 7.1(a) and the Court’s Practice Standards, counsel for G&A

  met and conferred by videoconference with counsel for Plaintiffs on October 11, 2022 regarding

  the substance of this Motion. Plaintiffs’ counsel indicated as part of the meet and confer that
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  Plaintiffs will oppose this Motion.

  I.      INTRODUCTION
          By their Complaint, Plaintiff’s purport to assert common law claims for breach of contract

  and unjust enrichment against G&A and to package said claims in the form of a loosely tethered

  class action pleading. However, Plaintiffs fail to allege facts sufficient to support either claim and

  fail to satisfy the bare minimum standards of a class action pleading. Plaintiffs’ nationwide class

  allegations also fail as a matter of law.

          With respect to the claim for breach of contract, Plaintiffs allege that each of them had a

  contract with a company known as Pay Pros under which Pay Pros was to perform payroll-related

  services, and that G&A stepped into Pay Pros’ shoes with respect to each contract via an asset

  acquisition and subsequently breached each contract by “over collecting” for federal and state

  unemployment taxes owed by Plaintiffs. However, Plaintiffs fail to allege their own performance

  of their contractual obligations (or a justification for any non-performance) and fail to identify any

  specific provision of the contracts that were breached by G&A’s alleged “over collecting.” Thus,

  they fail to state a claim for breach of contract.

          With respect to the claim for unjust enrichment, Plaintiffs seek restitution of the amounts

  G&A allegedly “over collected” from them for federal and state unemployment taxes. However,
  Plaintiffs’ contracts with Pay Pros, which were assigned to G&A via acquisition, cover this subject

  matter and specifically preclude Plaintiffs’ attempt to recover on an unjust enrichment theory.

          Because the Complaint fails to state any claim upon which relief may be granted, this

  motion should be granted, and the Complaint dismissed in its entirety.

          With respect to Plaintiffs’ nationwide class allegations, G&A has filed a separate motion

  to strike those allegations because, among other reasons, the Court lacks personal jurisdiction over

  G&A with respect to portions of the putative class. To the extent that either of Plaintiffs’ claims

  survive dismissal for failure to state a claim and the Court views the failure of Plaintiffs’ class



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  allegations as an issue better addressed under Federal Rule of Civil Procedure 12(b)(2), the Court

  should dismiss Plaintiffs’ class allegations for lack of personal jurisdiction.

  II.     ALLEGATIONS OF THE COMPLAINT

          Plaintiffs’ Complaint alleges that G&A is a human resources outsourcing company, also

  known as a professional employer organization (“PEO”), that functions as an external human

  resources department by handling payroll, employee benefits and other HR-related needs for its

  clients (typically small businesses). Doc. 1 ¶¶ 2, 17. The Complaint also alleges that G&A's
  services include collecting federal and state unemployment tax when a payroll cycle is run and

  forwarding amounts due to the appropriate federal and state agencies. Id. ¶ 3.

          The Complaint further alleges that Plaintiffs were clients of a PEO known as Pay Pros and

  had contracts with Pay Pros under which Pay Pros was to perform payroll-related services for

  Plaintiffs. Id. ¶¶ 33, 63. Plaintiff’s purport to attach Petrol Logic’s contract with Pay Pros as

  Exhibit A to the Complaint and allege that the contracts of other Pay Pros clients were substantially

  similar. Id. ¶ 33 & Exhibit A.

          Plaintiffs allege that G&A acquired Pay Pros in October 2019 and stepped into Pay Pros’

  shoes with respect to Pay Pros’ contracts with Plaintiffs. Id. ¶¶ 33, 64. Plaintiffs contend that none

  of the Plaintiffs executed a new agreement with G&A following G&A's acquisition of Pay Pros.

  Id. ¶ 65.

          According to the Complaint, shortly after G&A acquired Pay Pros, it began “overcharging”

  them for federal and state unemployment taxes. Id. ¶ 34. With respect to federal unemployment

  taxes, Plaintiffs allege that the Federal Unemployment Tax Act (“FUTA”) imposes an employer-

  side payroll tax of 6% on the first $7,000 that each employee makes in a year. Id. ¶ 19. However,

  if the employer timely pays its state unemployment taxes and the state to which the employer pays

  such taxes is not a so-called “credit reduction” state, the Complaint alleges that the employer is

  entitled to a credit of 5.4% of FUTA taxable wages when IRS Form 940 is filed. Id. ¶ 20. Plaintiffs


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  allege that they paid their state unemployment taxes in full and on time to non-credit reduction

  states and were therefore entitled to an effective FUTA tax rate of only 0.6% on their employees’

  FUTA-taxable wages. Id. ¶¶ 21-22. According to Plaintiffs’ Complaint, G&A handled this process

  for Plaintiffs but failed to claim the 5.4% credit on IRS Form 940 and withdrew amounts sufficient

  to cover the full 6% from Plaintiffs’ accounts and/or continued to withdraw amounts for FUTA on

  wages above the $7,000 wage cap. Id. ¶¶ 21, 23, 43-44. On information and belief, Plaintiffs allege

  that G&A never remitted the excess 5.4% to the IRS and has instead pocketed those funds,
  considering them to be “extra fees.” Id. ¶ 24.

         With respect to state unemployment taxes, the Complaint alleges that Colorado had an

  unemployment tax rate of 1.7% on the first $13,600 of an employee’s wages in 2020 and 2021 and

  North Dakota had an unemployment tax rate of 1.02% on the first $37,900 in wages paid to an

  employee in 2020 and on the first $38,500 in wages paid to an employee in 2021. Id. ¶¶ 25, 27.

  According to Plaintiffs’ Complaint, G&A overcharged Plaintiffs for state unemployment taxes due

  to Colorado and North Dakota in 2020 and 2021 by (1) collecting such taxes at a rate higher than

  the rate actually imposed by the state and (2) continuing to collect such taxes on wages paid above

  the applicable wage caps. Id. ¶¶ 26, 28, 35-42. According to the Complaint, G&A never refunded

  the excess monies it collected from Plaintiffs nor remitted the excess withholdings to the IRS. Id.

  ¶¶ 28, 30.

         Plaintiffs allege that G&A overcharged Petrol Logic for SUTA by $17,397.06 in 2021 and

  by at least $44,750 in 2020 and for FUTA by approximately $13,656 in 2021 and by at least

  $4,245.93 in 2020. Id. ¶¶ 35-44. Plaintiffs allege that G&A similarly “overcharged” Ruby Canyon,

  Fruita Family and Crested Oak for state and federal unemployment taxes in 2020 and 2021. Id. ¶¶

  45-50. Plaintiffs allege they have suffered damages in the form of overpayments to G&A and have

  asked for, but have not received, a full refund of such overpayments. Id. ¶ 52.




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          Based upon the foregoing allegations, many of which G&A dispute, each Plaintiff purports

  to assert causes of action against G&A for (1) breach of contract (id. ¶¶ 62-75) and (2) unjust

  enrichment (id. ¶¶ 76-81), and to bring these causes of action on behalf of two nationwide classes

  (id. ¶ 53).

  III.    ARGUMENT

          A.     Plaintiffs Fail to State a Claim for Breach of Contract

          To state a claim for breach of contract under Colorado law, a plaintiff must sufficiently
  plead the following elements: (1) the existence of a contract; (2) performance by the plaintiff or

  some justification for nonperformance; (3) failure to perform the contract by the defendant; and

  (4) resulting damages to the plaintiff. PayoutOne v. Coral Mortg. Bankers, 602 F. Supp. 2d 1219,

  1224 (D. Colo. 2009) (citing W. Distrib. Co. v. Diodosio, 841 P.2d 1053, 1058 (Colo. 1992)).

  Plaintiffs here have failed to sufficiently plead the second and third of these elements.

          With respect to the second element, the Complaint is devoid of any allegations that

  Plaintiffs performed their contracts with G&A or that would justify any nonperformance.

          With respect to the third element, Plaintiffs attempt to allege that G&A breached its

  agreements with Plaintiffs by failing to accurately charge Plaintiffs for federal and state

  unemployment taxes and instead “overcharging” and “over collecting” for such taxes. Doc. 1 ¶ 72.

  However, the Complaint fails to identify any express provision of Plaintiffs’ contracts with G&A

  that either limited G&A to collecting from Plaintiffs only those amounts Plaintiffs owed taxing

  authorities for unemployment taxes or prohibited G&A from collecting more from Plaintiffs than

  the amounts Plaintiffs owed for such taxes. Indeed, the Complaint tacitly admits that Plaintiffs

  cannot identify such a provision. See id. ¶ 70 (“To the extent the contract contained an express

  provision requiring G&A to properly calculate and bill for unemployment tax, it was breached by

  G&A’s failure to do so.”). In fact, the document attached to the complaint as Exhibit A and alleged

  to be Petrol Logic’s contract indicates that G&A was entitled to collect an amount from Petrol


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  Logic equal to, at the very least (given that Plaintiffs appear to have redacted portions of the

  document), 14.02% of the gross wages Petrol Logic paid its employees, a percentage that is much

  larger than the percentage that Plaintiffs allege Petrol Logic owed for federal and state

  unemployment taxes. Doc. 1 ¶¶ 33, 35-44 & Ex. A at 2. To the extent Plaintiffs’ contract claim is

  based upon an alleged breach of an express provision, Plaintiffs’ failure to identify that provision

  warrants dismissal of their claim. See Miller v. Metro. Life Ins. Co., 17 Civ. 7284 (AT), 2019 WL

  4450637, at *5 (S.D.N.Y. Sept. 17, 2019) (“MetLife is correct that, under the law of [Colorado], a
  plaintiff must identify a specific provision of the contract that the defendant breached.”); Snyder

  v. ACORD Corp., No. 14-cv-01736-JLK, 2016 WL 192270, at *12 (D. Colo. Jan. 15, 2016) (“I

  will dismiss Plaintiffs’ breach of contract claims.... Plaintiffs’ claims for breach of the insurance

  policies themselves fail because Plaintiffs have not identified any actual provisions of the policies

  or explained how Defendants breached them.”); Pernick v. Computershare Tr. Co., Inc., 136 F.

  Supp. 3d 1247, 1266 (D. Colo. 2015) (“Plaintiff fails to identify contractual provisions suggesting

  [defendant’s alleged obligation] and, as a result, fails to state a claim for breach of contract.”).

         To the extent Plaintiffs’ contract claim is based on an alleged breach of the implied duty of

  good faith and fair dealing, it fails for similar reasons. “Under Colorado law, every contract

  contains an implied duty of good faith and fair dealing” that “may be relied upon ‘when the manner

  of performance under a specific contract term allows for discretion on the part of either party.’”

  City of Golden v. Parker, 138 P.3d 285, 292 (Colo. 2006) (quoting Amoco Oil Co. v. Ervin, 908

  P.2d 493, 498 (Colo. 1995)) (emphasis added). The duty “is breached when a party uses discretion

  conferred by the contract to act dishonestly or to act outside of accepted commercial practices to

  deprive the other party of the benefit of the contract.” ADT Sec. Servs., Inc. v. Premier Home

  Protection, Inc., 181 P.3d 288, 293 (Colo. App. 2007).

         Here, Plaintiffs allege that G&A had discretion regarding the amounts that were to be

  deducted from Plaintiffs' accounts to cover unemployment taxes and abused that discretion by


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  collecting more than the amounts Plaintiffs contend they owed in such taxes. Doc. 1 ¶¶ 67-68.

  However, they do not identify the specific contract term that conferred the alleged discretion on

  G&A.

         Moreover, the implied duty of good faith and fair dealing “cannot be used to ‘contradict

  terms or conditions for which a party has bargained’; ‘obligate a party to accept a material change

  in the terms of the contract’; ‘assume obligations that vary or contradict the contract’s express

  provisions’; or ‘permit a party to inject substantive terms into the contract.’” Goodrich v. Alterra
  Mountain Co., No. 20-cv-01057-RM-SKC, 2021 WL 2633326, at *7 (D. Colo. June 25, 2021)

  (quoting Stokes v. DISH Network, L.L.C., 838 F.3d 948, 953 (8th Cir. 2016)). Nor can it be used

  to “establish[] new, independent rights or duties.” Id. As noted above, Plaintiffs’ contracts

  expressly permitted G&A to collect amounts from Plaintiffs that far exceeded the amounts

  Plaintiffs contend they owed to taxing authorities. Plaintiffs cannot “hijack” the implied duty to

  impose a limitation that is contradicted by the contract’s express provisions.

         Because the implied duty applies “only when the manner of performance under a specific

  contract term allows for discretion on the part of either party,” Amoco Oil Co., 908 P.2d at 498

  (emphasis added), and Plaintiffs have pointed to no such term in their agreements with G&A,

  Plaintiffs’ claims for the breach of the implied duty of good faith and fair dealing should be

  dismissed. See Goodrich, 2021 WL 2633326, at *7; McKinnis v. Fitness Together Fran. Corp.,

  No. 10-cv-02308-RPM, 2010 WL 5056666, at *4 (D. Colo. Dec. 6, 2010) (“The plaintiffs have

  not identified any specific contract term that allows for discretion on the part of the defendant.

  Dismissal is appropriate for that reason.”); Builder MT LLC v. Zybertech Constr. Software Servs.,

  Ltd., No. 08-cv-00435-LTB, 2008 WL 4724146, at *3 (D. Colo. 2008) (claim for breach of implied

  covenant of good faith and fair dealing dismissed because plaintiff failed to allege a specific

  contract term allowing for discretion on the part of either party).




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         B.      Plaintiffs Fail to State a Claim for Unjust Enrichment

         “Unjust enrichment is a claim in quasi-contract for money damages based on principles of

  restitution.” DCB Const. Co. v. Cent. City Dev. Co., 965 P.2d 115, 118 (Colo. 1998). To recover

  under an unjust enrichment theory, a plaintiff must show that “(1) at plaintiff’s expense (2)

  defendant received a benefit (3) under circumstances that would make it unjust for defendant to

  retain the benefit without paying.” Robinson v. Colo. State Lottery Div., 179 P.3d 998, 1007 (Colo.

  2008). However, “a party cannot recover for unjust enrichment by asserting a quasi-contract when
  an express contract covers the same subject matter because the express contract precludes any

  implied-in-law contract.” Interbank Invs., LLC v. Eagle River Water & Sanitation Dist., 77 P.3d

  814, 816 (Colo. App. 2003).

         Here, Plaintiffs’ claim for unjust enrichment seeks restitution of amounts G&A allegedly

  “over collected” from Plaintiffs for federal and state unemployment taxes. Doc. 1 ¶¶ 76-81.

  However, Plaintiffs have alleged the existence of express contracts between Plaintiffs and G&A

  covering the same subject matter, namely, for the performance of payroll services, including the

  withholding and remittance of Plaintiffs’ unemployment taxes. Id. ¶¶ 33-34, 63-64. Plaintiffs’

  claim for unjust enrichment is therefore precluded. See, e.g., Greenway Nutrients, Inc. v.

  Blackburn, 33 F.Supp.3d 1224, 1261–62 (D. Colo. 2014) (“There was an express contract covering

  any claim for loss of good and services .... Therefore, an unjust enrichment claim for goods or

  services is precluded”); Rossetti Assocs., Inc. v. Santa Fe 125 Denver, LLC, No. 09–cv–0033–-

  WJM–BNB, 2011 WL 834177, at *7 (D. Colo. March 4, 2011) (dismissing breach of contract

  claim and concluding that, “because there is an enforceable contract between the two parties, the

  express contract precludes the unjust enrichment claim” (citing Interbank, 77 P.3d at 818-19)).

         Because an express contract governs the relationship between each Plaintiff and G&A,

  Plaintiffs cannot assert a claim for unjust enrichment unless they state facts sufficient to establish

  one of the two recognized exceptions to the general rule that an express contract precludes a quasi-


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  contract claim on the same subject matter; i.e., when (1) the alleged quasi-contract “covers conduct

  outside the express contract or matters arising subsequent to the express contract,” or (2) “the party

  will have no right under an enforceable contract,” such as “when an express contract failed or was

  rescinded.” Interbank Invs., 77 P.3d at 816 (internal quotation marks and citations omitted).

  Plaintiffs, however, have failed to plead facts that would allow the Court to conclude that either

  exception applies.

         As to the first exception, the basis for Plaintiffs’ unjust enrichment claim is the same as the
  basis for their breach of contract claim, namely, that G&A allegedly overcharged Plaintiffs for

  federal and state unemployment taxes. Plaintiffs do not allege that they had separate quasi-

  contracts or implied contracts with G&A that covered conduct outside of the scope of their express

  contracts with G&A or that G&A harmed them through conduct arising subsequent to the

  termination of their express contracts. To the exact contrary, Plaintiffs had been performing under

  the same contractual terms and billing practices with Pay Pros for years prior to G&A’s acquisition

  and never once raised any issues or concerns and Plaintiffs admit those exact same contracts and

  terms carried forward to G&A post-acquisition.

         As to the second exception, Plaintiffs allege the existence of express contracts with G&A

  covering the conduct at issue but fail to allege any facts that would establish these contracts are

  not valid and enforceable. Plaintiffs do not come within the second exception because they have a

  remedy under their enforceable contracts with G&A: breach of contract. The fact that Plaintiff

  have not plausibly plead breach of contract does not entitle them to bring an unjust enrichment

  claim. See, e.g., McAuliffe v. Vail Corp., No. 1:20-cv-01121-RBJ, 2022 WL 3597185, at *12 (Mar.

  2, 2022). The substantial weakness of their primary claim does not allow them to plead an

  alternative one defectively.

         Indeed, it makes no difference that Plaintiffs purport to plead their unjust enrichment claim

  “in the alternative” to their breach of contract claim. Doc. 1 at 14. Although the Federal Rules of


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   Civil Procedure permit a plaintiff to allege inconsistent claims in the alternative, each of the

   alternative claims must be supported by factual allegations sufficient to “state a claim on which

   relief can be granted” to survive a motion to dismiss. Fed. R. Civ. P. 12(b)(6). Here, Plaintiffs

   allege the existence of enforceable contracts covering the same conduct underlying their unjust

   enrichment claim. They do not allege any facts, alternative or otherwise, capable of supporting a

   conclusion that these contracts are not enforceable or do not preclude an unjust enrichment claim

   based on the same conduct. See Interbank Invs., 77 P.3d at 817 (“Alternative pleading [] does not
   limit the principle that an express contract precludes an implied contract on the same subject

   matter.”). Plaintiffs’ claim for unjust enrichment should therefore be dismissed.

          C.      Plaintiffs Cannot Pursue Their Claims on Behalf of Nationwide Classes

          G&A has separately moved to strike the Complaint’s class allegations under Federal Rules

   of Civil Procedure 12(f) and/or 23(d)(1)(D) because, among other reasons, the Court cannot

   exercise personal jurisdiction over G&A with respect to the claims of putative class members who

   did not reside in Colorado, enter into contracts with Pay Pros in Colorado that were subsequently

   assigned to GA, or pay wages subject to Colorado unemployment taxes. Given that such putative

   class members are not yet (and, G&A contends, will never be) parties to the action, G&A believes

   a motion to strike is the appropriate procedural vehicle for raising the issue with the Court.

   However, to the extent that the Court views the issue as being better addressed under Federal Rule

   of Civil Procedure 12(b)(2) and out of an abundance of caution lest it be deemed to have waived

   the defense of lack of personal jurisdiction with respect to the putative class members, G&A hereby

   moves to dismiss Plaintiffs’ nationwide class allegations pursuant to Rule 12(b)(2) for the reasons

   set forth in its concurrently-filed Motion to Strike Class Allegations. As explained in greater detail

   in that motion, the Court lacks general jurisdiction over G&A because, as Plaintiffs have alleged,

   G&A is a Texas company with its principal place of business in Texas. Doc. 1 ¶ 13. Although the

   Court has specific jurisdiction with respect to the claims of Plaintiffs and any putative class


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   members that, like Plaintiffs, resided in Colorado, entered into contracts with Pay Pros in Colorado

   that were subsequently assigned to G&A, or paid wages subject to Colorado unemployment taxes

   for which G&A provided payroll services, it lacks such jurisdiction with respect to the claims of

   putative class members who did not because those claims do not arise out of G&A’s Colorado-

   directed activities, but rather out of activities directed at other states. Thus, the Court lacks personal

   jurisdiction over G&A with respect to the claims of many persons encompassed by Plaintiffs’ class

   allegations, and those allegations should be stricken or, in the alternative, dismissed.
   IV.     CONCLUSION

           For the foregoing reasons, G&A respectfully requests that the Court dismiss Plaintiffs’

   Complaint in its entirety and without leave to amend.

           Respectfully submitted this 21st day of October, 2022.

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                                    CERTIFICATE OF SERVICE
          I certify that on this 21st day of October, 2022, a true and correct copy of the foregoing

   DEFENDANT G&A OUTSOURCING, LLC’s MOTION TO DISMISS COMPLAINT was

   filed and served via CM/ECF upon the following:

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